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                 EXHIBIT A




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The Third Inspection Bureau of Beijing Taxation Bureau
                 State Administration of Taxation


                      Notice of Tax Inspection
                      JING SHUI JI SAN TONG (2019) 6001013



NQ MOBILE (BEIJING) TECHNOLOGY CO. LTD.
    In accordance with Article 54 of the Tax Collection and Administration Law of the
People's Republic of China, it is determined to assign Yang Yiqing, Ding Baohua and
others, to conduct an inspection starting from May 10, 2019, on tax related matters
of your company during the period from January 1, 2014 to May 5, 2019(if the
inspection finds out obvious suspected tax violations or clues outside this period
then the inspection are not limited by this period).Please accept the inspection at
that time according to the law, report the situation truthfully, and provide the
relevant information.


                 (Sealed by The Third Inspection Bureau of Beijing Taxation Bureau
                                                   State Administration of Taxation)
                                                   Date:May 9, 2019


Please take notice that, the assigned personnel by tax authority, should show their
tax inspection certificates and tax inspection notice when conducting the tax
inspection, and are responsible for confidentiality of the inspected; If not showing
their tax inspection certificates and tax inspection notice, the inspected has the
right to reject the inspection.




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The Third Inspection Bureau of Beijing Taxation Bureau
                  State Administration of Taxation
                         Notice of tax matters
                       JING SHUI JI SAN TONG (2019) 6000550


NQ MOBILE (BEIJING) TECHNOLOGY                    CO.   LTD.   (Taxpayer   identification
number:911101086615514831)

    Cause: Violation of invoice regulation.

    Ground: Article 19 of the Tax Collection and Administration Law, Article 32 of the
Tax Collection and Administration Law, Announcement No. 28, Income Tax Law.

     Notification content: We hereby inspect and collect evidence on one General
VAT Invoice that your company accepted, Invoice Code1100173320 Invoice
Number58002836, issued by Beijing Tai Heng Yuxinon Technology Co. Ltd. on June
4,2018 and the authenticity of the business under this invoice. Please cooperate with
the inspection timely in accordance with the requirements.

    I. The following materials shall be copied on A4 paper in duplicate; with page by
page endorsement as "This copy is consistent with the original and provided by our
company. " Signed by the legal person or the agent together with the official seal.
    1. Organization Code Certificate;
    2. Bank account opening permits.
    3. ID card of the legal representative of the enterprise (if the legal person is
unable to attend, the power of attorney of the legal person and the ID card of the
agent must be provided);
    4. ID card of the agent involved in the above-mentioned invoice matter;
    5. Purchase and sale contract;
    6. Bookkeeping vouchers and invoice forms.

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     7. Warehousing receipts of goods, transportation documents of relevant goods,
signing upon receipts documents and deduction vouchers of transportation
expenses;
     8. Bank check counterfoil(or relevant receipts of wire transfer, online banking),
bank statement (labeled current payments of the goods), cash withdrawal
documents (note: in case of cash payments, please provide the relevant cash source,



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loan contracts and other relevant proof);
    9. The related itemized account pages (e. g. inventory goods, accrued tax (input,
output, transfer out, etc.), operating expenses, bank deposits, cash, receivable,
payable, receivable in advance, payment in advance. The latter five items should
attach bookkeeping evidence and account pages of the previous or after period );
    10. Write a detailed description of the basic situation of the enterprise and
process of this business matter(also bring a flash drive that contains the electronic
version of the description).

     II The legal person (or the agent), person in charge of finance, and the agent of
this business matter should carry their ID cards and the company official seal to The
Third Inspection Bureau of Beijing Municipal Bureau of Taxation State Administration
of Taxation, for an inquiry and survey.
     (Address: Room 306,307, Building 2, YI.3, Xiyuan Sports-ground, Haidian District;
Tel.:62673221)

      Please provide the above material by September 19,2019.（Hand-written）

                                      (Sealed by
                         The Third Inspection Bureau of Beijing Taxation Bureau.
                                      State Administration of Taxation)

                                      Date: August 27,2019




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